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                                                                               PdFRKS OFFICE U.S.DISX rA lr
                                                                                       AT ROANOKE,VA
                                                                                            r:!..QD

                      IN TH E U NITED STATES DISTR IC T C O U RT                      OCT 3 1 2013
                     FO R T H E W ESTERN DISTR ICT O F V IR G IN IA
                                  ROANO KE DIVISION                                 JULIA C.      G
                                                                                   BY;
                                                                                        DE
KIA NICOLE M ANNING,

       Plaintiff,                                         C rim inalA ction N o.7:12cr42

V.                                                        2255 M EM O M N DU M O PIN IO N

UNITED STATES OF AM ERICA,                                By:Sam uelG .W ilson
                                                          United States D istrictJudge

       D efendant.

       PlaintiffKiaNicoleM anningbringsthismotionpursuantto28U.S.C.j2255,seekingto
setasideorcorrectthe lsl-m onth sentencethecourtimposed following M nnning'sguilty pleato

aconspiracytodistributemorethan 1,000kilogrnmsofmarijuana,inviolationof21U.S.C.jj
846& 841(b)(1)(A)andmoneylaundering,inviolationof18U.S.C.j1956.M nnningclaims
thecourtincreasedhersentenceimproperlybynotsubmittingcertainfactualmatterstoajury.
The courtdeniesM nnning's m otion.

                                              1.


       OnM ay24,2002,agrandjuryindictedM anningonmultiplecotmts.OnNovember28,
2012,M anning entered into awritten pleaagreementwith thegovernm ent,pursuantto Federal

Rule ofCrim inalProcedure 11. The plea agreem entcalled forM nnning to plead guilty to counts

one(aconspiracytodistributemarijuana)andtwo(aconspiracytocommitmoneylatmdering)of
theindictmentand,indoingso,toSûstipulatethere(waslasufticientfacmalbasisto supporteach
and everymaterialfactualallegationcontainedwithinthechargingdocumenttsl.''(ECFNo.203
at11)ThecourtconductedaRule11pleacolloquyinwhich itadvisedM anningofthenatureof
the charges and the effectsofpleading guilty,including the potentialsentence applicable to each
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count.(J.Z at1) Thecourtspecifically apprisedM nnningthatcountonewassubjecttoa
mandatoryminimlzm of10yearsandamaximtlm term oflifeandthatcotmttwowassubjecttoa
m axim um term of20 years. Thecourtfound thatherguilty pleawasaknowing and voluntary

pleaand accepted it.A presentencereportwasthen prepared.According to thereport,M nnning

had aguideline rangeof151to 188 months,and on M arch 4,2013,the courtsentenced M nnning

to 151monthsoneachcotmt(tobeservedconcurrently).

                                            I1.


       M nnningclaimsthatthecourtengagedinjudicialfact-findingincontraventionof
Allevnev.UnitedStates,133S.Ct.2151(2013),whichwasdecidedafterthecourtsentenced
M anning.MnnningmisreadsAllevne,andthecourtdenieshermotion.(SeeECFNo.395at2-
3) ThecourtfindsthatM nnning'sarplmentsarewithoutmerit.

       PriortoAllevne,theCourtheldinHanisv.United States,536U.S.545(2002)and
M qM illanv.Pennsylvania,477U.S.79(1986),thatCtfactsincreasingamandatoryminimum
sentencecouldbedecidedbyajudgeatsentencingratherthanajury.''Alleyneoverruledboth
Harrisand M cM illan and held thatsuch factsareinstead elem entsthatiGmustbesubmitted tothe

juryandfoundbeyond areasonabledoubt.'' 133 S.Ct.at2158.TheCourtreasonedthatfacts
increasingamandatoryminimum mustbefoundbyajurybecausetheyû'altertheprescribed
rangeofsentencestowhichadefendantisexposed.''Alleyne,133S.Ct.at2158(emphasis
added).This,however,çtdoesnotmeanthatanyfactthatinfluencesjudicialdiscretionmustbe
foundbyajury.''Id.at2163.Factsthatdonotalterthestatutorymaximum andminimum but
only affecttheam otmtofpunishm entwithin the applicablerangearesentencingfactorsacourt

mayconsiderinitsdiscretion.See133 S.Ct.at2163(quotingApprendiv.New Jersev,530U.S.
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466,481,(2000))(çlnothingin(commonlaw)historysuggeststhatitisimpermissibleforjudges
toexercisediscretion ...inimposingajudgmentwithintherangeprescribedbystatute'')
(emphasisinoriginal).Further,whenadefendantpleadsguilty,theguiltypleaservesasan
adm ission ofa1lthe elementsand materialfactsalleged intheindictmentforpurposesof

applying the appropriate statutory rangeand forsentencing within thatrange. United Statesv.

Nicholson,676F.3d376,384(4th Cir.2012)(quotingUnited Statesv.Bowman,348F.3d408,
414(4thCir.2003)(A guiltypleaservesasttanadmissionofalltheelementsofaformal
criminalchargeandconstitutesanadmissionofallmaterialfactsalleged inthecharge.'')
(emphasisadded).

       Here,asthe courtconcluded before acceptingM anning'splea,M anning knowingly and

voltmtarily pleaded guilty to countsone and two.Countonehad,asM nnningunderstood when

shepled,amandatoryminimum of120monthsandwassubjecttoamaximllm oflife,andcount
twowassubjectto imprisonmentupto20years.Becausethe 151month sentencethecourt
im posed wasboth within the rangeofpunishm entfortheoffensesdetailed in theindictm entand

consistentwith M nnning'sknowing and voluntaryplea,itin no mnnnerconflicted with the

Suprem e Court'slaterpronouncem entin A lleyne.l



1ln addition,Allevneisnotretroactively applicableto caseson collateralreview . A plaintiff
who collaterally attackshisorherconviction onthebasisofanew rule ofcrim inalprocedure
m ustestablish thatthe change appliesretroactively.M illerv.United States,2013 W L 4441547,
at*3 (4th Cir.Aug.21,2013)(citingBousleyv.United States,523U.S.614,620(1998:.
Generally,new nllesofcrim inalproceduredo notapply retroactively.Slzmm erlin,542U .S.at
352. Onlycertain watershed rulesofcriminalprocedtlrewillbegiven retroactiveeffect.A
watershed rule ofcrim inalprocedureisonethatisnecessary toboth fundam entalfairnessand
the accuracy ofthe crim inalproceeding and one çtw ithoutw hich the likelihood ofan acctlrate
convictionisseriously diminished.''Teague,489U.S.at312-13(emphasisadded).
H ere,M anning pleaded guilty to allfacts required forconviction tm dercountone. M nnning w as
fully apprised that,by pleading guilty to thischarge,a m andatory m inim um im prisonm entoften
yearswould be imposed,Accordingly,therewasno risk thatthe likelihood ofan accurate
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                                           111.


      Forthereasonsstated,thecourtdeniesM anning'smotionplzrsuyptto28U.S.C.j2255.
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ENTER:October31, 2013.                                    )
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convictionwasseriouslydiminished.A new nllerequiringthatallfactsbefoundbyajuryprior
to theim position ofamandatory m inim um need notapply retroactively whereadefendant
pleadsguilty.SeeUnitedStatesv.Stewart,2013W L 5397401,at*1n.*(4thCir.Sept.27,
2013)(notingthatAlleynetlhasnotbeenmaderetroactivelyapplicabletocasesoncollateral
review'').
